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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OKLAHOMA

    RICHARD FELTZ, et al., on behalf of                 )
    himself and all other similarly situated,           )
                                                        )
                     Plaintiff,                         )
                                                        )
    v.                                                  )    Case No. 18-CV-0298-CVE-JFJ
                                                        )
    VIC REGALADO, TULSA COUNTY                          )
    SHERIFF, in his Official Capacity, et al.,          )
                                                        )
                      Defendants.                       )

                                          SCHEDULING ORDER

             Before the Court are Defendant State Judges’ Notice Regarding Scheduling Order (ECF No.

   279) and Plaintiff’s Notice Regarding Scheduling (ECF No. 283). Upon consideration of all

   arguments in the notices, the Court enters the following scheduling order. Because the parties agree

   that a trial date need not be set at this time, the Court declines to do so.

   Expert Discovery:

            Plaintiff’s expert reports and disclosures to be made by July 14, 2021.

            Defendants’ expert reports and disclosures to be made by September 14, 2021.

            Expert discovery to close on October 14, 2021.

   Class Certification Motion:

            Class certification motion to be filed by November 9, 2021.

            Class certification oppositions to be filed by November 30, 2021.

            Class certification replies to be filed by December 14, 2021.

   Summary Judgment Motion:

            Summary judgment motions to be filed by December 22, 2021.

            Summary judgment oppositions to be filed by filed by January 21, 2022.
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         Summary judgment replies to be filed by February 11, 2022.

          SO ORDERED this 7th day of May, 2021.



                                                     JODIF.JAYNE,MAGISTRATEJ
                                                                           UDGE
                                                     UNITEDSTATESDISTRICTCOURT




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